                            IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE


 UNITED STATES OF AMERICA,                   )
                                             )
                               Plaintiff,    )
                                             )
                       v.                    )       No. 3:07-CR-51
                                             )       (Phillips / Shirley)
 JOHNNIE MARTIN,                             )
 AARON BROOKS,                               )
 LASHONDA HALL,                              )
 TONY DARNELL MANNING,                       )
 MATTHEW ORR,                                )
 JAMES O. ROWANS II, and                     )
 CARLA KYLE.                                 )
                                             )
                               Defendants.   )


                                    MEMORANDUM AND ORDER

        All pretrial motions in this case have been referred to the undersigned pursuant to 28

 U.S.C. ' 636(b) for disposition or report and recommendation regarding disposition by the

 District Court as may be appropriate.

        This matter originally came before the Court on September 14, 2007, for a hearing on the

 Motion to Withdraw, [Doc. 196], filed by Attorney Rowland Cowden as to Defendant Aaron

 Brooks. The Court conducted a sealed hearing after which Mr. Brooks and Attorney Cowden

 agreed to try to resolve their differences in an effort to proceed with Mr. Brooks’ defense. They

 asked the Court to reserve ruling on the motion until after the hearing on other pretrial motions

 was conducted.

        On September 25, 2007, Mr. Brooks and Attorney Cowden informed the Court that any

 problems with their attorney-client relationship have been successfully resolved. Both Attorney

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 Cowden and Mr. Brooks expressed their belief that they are able to proceed together for the

 remainder of the case. Attorney Cowden asked the Court to consider his motion withdrawn and

 stated that it was not necessary to appoint new counsel for Mr. Brooks. Mr. Brooks confirmed

 his agreement. At the hearing, the Court granted the oral request to withdraw the Motion to

 Withdraw [Doc. 196] and it is herein DENIED as moot.

        IT IS SO ORDERED.

                                                  ENTER:


                                                    s/ C. Clifford Shirley, Jr.
                                                  United States Magistrate Judge




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